

Matter of Attorneys, in Violation of Judiciary Law § 468-a (Jury) (2023 NY Slip Op 04175)





Matter of Attorneys, in Violation of Judiciary Law § 468-a (Jury)


2023 NY Slip Op 04175


Decided on August 3, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 3, 2023

PM-163-23
[*1]In the Matter of Attorneys, in Violation of Judiciary Law § 468-a. Committee on Professional Standards, Now Known as Attorney Grievance Committee for the Third Judicial Department, Petitioner; Michael James Jury, Respondent. (Attorney Registration No. 4174884.)

Calendar Date:May 1, 2023

Before:Garry, P.J., Egan Jr., Lynch, Clark and Pritzker, JJ., concur.

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for petitioner.
Whittingham Law, New York City (Kaylin L. Whittingham of counsel), for respondent.



Motion by respondent for an order reinstating him to the practice of law following his suspension by January 2014 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 113 AD3d 1020, 1037 [3d Dept 2014]; see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affidavit with exhibits sworn to March 15, 2023, and his correspondence with exhibits dated April 28, 2023, and the April 24, 2023 responsive correspondence from petitioner, and having determined, by clear and convincing evidence, that (1) respondent has satisfied the requirements of Rules of the Appellate Division, Third Department (22 NYCRR) § 806.16 (c), (2) respondent has complied with the order of suspension and the rules of this Court, (3) respondent has the requisite character and fitness to practice law, and (4) it would be in the public interest to reinstate respondent to the practice of law (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16 [a]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Garry, P.J., Egan Jr., Lynch, Clark and Pritzker, JJ., concur.








